                         Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 1 of 14
A02458         (Rev. 09/11)Judgment in a Criminal Case
               Sheet 1



                                         UNITED STATES DISTRlCT COURT
                                                             District of Massachusetts
                                                                           )
              UNITED STATES OF AMERlCA                                     )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                    WllFREDO MElEI\IDEZ                                    )
                                                                                   Case Number: 10-CR-10099-DPW-002
                                                                           )
                                                                           )       USM Number: 94224-038
                                                                           )
                                                                           )       Steven J . Deluca and Paul V. Sullivan
                                                                                   Defendant's Attorney
THE DEFENDANT:
[J pleaded guilty to count(s)
o pleaded nolo contendere to count(s)
   which was accepted by the court.
r;twas found guilty on count(s)          1s of the Superseding Indictment on 4/11/13
   after a plea of not guilty .

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended
                                   Conspiracy to Distribute Cocaine                                            21212010                     1s

 21 U.S.C. § 841 (a)(1 )(A)



       The defendant is sentenced as provided in pages 2 through            _ _6 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
Ii'Count(s)       1 of the original Indictment           riI is    o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name , residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered to pay restitution ,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            7/11/2013




                                                                           Signature orJudge




                                                                            Douglas P . Woodlock                          Judge,U .S. District Court
                                                                           Name and Title of Judge


                                                                           JU1't I ~J !O J1
                    Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 2 of 14

AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                                           2      6
DEFENDANT: WILFREDa MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    144 months.

    Defendant shall receive credit for time served.


      ~ The court make s the following recommendations to the Bure au o f Prison s :
    Defendant should participate in educational classes to pursue his GED and further educat ional and/or vocational training .
    Defendant should participate in all available substance abuse treatment, including, but not limited to, the BOP's 500-Hour
    Residential Drug Abuse Program. Defendant should be designated to a facility as possible to the Boston area.

      ~ The defendant is rem anded to the custody of the United State s Marshal.

      o The defendant shall surrender to the United States Marshal for this district:
          D at      _ ______ _ _ D a.m.                          D p.m.        on

          o as notifi ed by the Unite d States Marsh al.
      o The defendant shall surrender for service of sentence at the institut ion designated by the Bur eau o f Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
          D as notified by the Probatio n or Pretrial Services Offi ce .


                                                                    RETURN
I have executed this judgm ent as foll ow s:




          Defendant delivered on                                                            to

a                                                    , w ith a certified copy of this j udg ment.



                                                                                                       UNITED STATES MARSHAL


                                                                            By
                                                                                                    DEPUTYUNITED STATES MARSHAL
                       Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 3 of 14

AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet J - Supervised Release
                                                                                                             Judgment-Page       3   of         6
DEFENDANT: WILFREDO MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 years .

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter,:xs<IkkmMm:li::tl){~mmt. not to exceed 104 tests per year, as directed.

o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, ifapplicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon . (Check, ifapplicable.)

         The defendant shall cooperate in the co llection of ON A as directed by the probation officer. (Check, ifappficabfe.)


o        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S .C. § 16901 , et seq .)
         as directed by the probation officer, the Bureau of Prisons, or any state sex 0 ffender registration agency in which he or she resides ,
         works, is a student, or was convicted ofa qualifying offense. (Check, ifapplicable.)

o        The defendant shall participate in an approved program for domestic v iolence. (Check, ifappficabte.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule 0 f Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant s hall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to an y change in residence or employment;
  7)      the defendant shall refrain from excessive use 0 f alcohol and shall not purchase, possess, use , distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold , used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person con victed of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall penn it a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain v iew of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,r>ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                 Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 4 of 14

AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                                          Judgment-Page   - L of        6
DEFENDANT: WILFREDO MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant is to participate in a program for substance abuse counseling as directed by the United States Probation
 Office, which program may include testing, not to exceed 104 drug tests per year, to determine whether the defendant has
 reverted to the use of alcohol or drugs. The defendant shall be required to contribute to the costs of services for such
 treatment based on the ability to payor availability of third party payment.

 The defendant shall pursue a GED and participate in a vocational services training program , as directed by the Probation
 Office. Such program may include job readiness training and/or skills development training . The defendant shall be
 required to contribute to the costs of programming based on the ability to payor availability of third-party payment.
                   Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 5 of 14
AO 245B   (Rev. 09/11) Judgmentin a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                          5
                                                                                                        Judgment- Page _ --=-_   of      6
DEFENDANT: WILFREDO MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002
                                             CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                                                                  Restitution
TOTALS           $ 100.00                                               $                                  $



D Th e determination ofrestitution is deferred until                        . An Amended Judgment ina Crimina I Case (AO 245Cj will be entered
    after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each pay ee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 Ll.SiC. § 3664(t), all nonfederal victims must be p aid
    before the United States is paid .

                                                                              Total Loss*        Restitution Ordered Priority or Percentage




TOTALS                             $                            0.00                           0.00
                                                                                 $ - -- - - -- - ­


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.s.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 36l2(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that :

     D the interest requirement is waived for the              D fine        0   rest itution.

     D the interest requirement for the             D   fine    D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A ofT itle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996 .
                     Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 6 of 14
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedul e of Payments

                                                                                                                Judgment -   Page _   _6_ of             6
DEFENDANT: WILFREDa MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant' s ability to pay, payment of the total crim inal monetary penalties is due as follows:

A    ~ Lump sum payment of$                100.00               due immediately, balance due
                                         ------­

                 not later than                                      , or
                 in accordance           D C,         D 0,      D      E,or     rit F below; or
B    D Payment to begin immediately (may be combined with                     DC,         D 0, or       D F below); or
C    D     Payment in equal                          (e.g., weekly, monthly, quarterly) installments o f $                            over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years) , to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of superv ision; or

E    D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an asses sment of the defendant's ability to pay at that time ; or

F    r;/ Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay the special assessment of $100.00, immediately or according to a payment plan
           established by the Court in consultation with the probation officer, if not paid in full before release from prison
           through a Bureau of Prisons financial responsibility program.



Unless the COUlt has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All Criminal monetary penalties, except those payments made through the Federal Bureau of Prison s' Inmate Financi al
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any cr iminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number) , Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

~ The defendant shall forfeit the defendant's interest in the follow ing property to the United States:
      See Preliminary Order of Forfeiture.



Payments shall be applied in the following order: (1) ass essment, (2) restitution princ ipal , (3) restitution interest , (4) fine principal ,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                   Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 7 of 14
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Attachment (Page I) - Statement of Reasons


DEFENDANT: WILFREDO MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002
DISTRICT:    District of Massachusetts
                                                         STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A ~         The court adopts the presentence investigation report without change.

      8    D      The court adopts the presenten ce investigation report with the following changes.
                  (Check all that apply and specify court determination, findings, or comments,referencing paragraph numbers in the presentencereport, if applicable.)
                  (Use page 4 ifnecessary.)

                  D    Chapter Two of the V.S.S.G. Manual determinationsby court (including changes to base olTense level, or
                       specific olTense characteristics):



          2       D    Chapter Three of the V.S.S.G. Manual determinations by court (including changes to victim-relatedadjustments,
                       role in the offense, obstruction of justice, multiple counts, or acceptanceof responsibility):



          3       D    Chapter Four of the V.S.S.G. Manual determinations by court (including changes to criminal history category or
                       scores, career olTender, or criminal livelihooddeterminations):



          4       D    Additional Comments or Findings (including commentsor factual findings concerning certain information in the
                       presentencereport that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                       or prograrruning decisions):



      C   D       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MAN DATORY MINIMUM SENTENCE (Check all that apply.)

      A    D      No count of conviction carries a mandatory minimumsentence.

      8    ~      Mandatoryminimumsentence imposed.

      C    D      One or more counts of conviction alleged in the indictmentcarry a mandatoryminimumterm of imprisonment, but the
                  sentence imposed is below a mandatory minimumterm becausethe court has determinedthat the mandatory minimum
                  does not apply based on

                  D    findings of fact in this case
                  D    substantialassistance (18 U.S.C. § 3553(e»

                  D    the statutory safety valve (18 U.S.C § 3553(1)



III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level : _3=.4-=----                                    _
      Criminal History Category:
      Imprisonment Range : _1.:...;5=-1.:....-__ to _ 1_8_8 _ _ months
      Supervised Release Range:              5           to 5          years
      Fine Range: $ 17,500                    to $ 10,000,000


      ~ Fine waived or below the guideline range because of inability to pay.
                        Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 8 of 14
AO 245B       (Rev. 09111) Judgment in a Criminal Case
              Attachment(Page 2) - Statement of Reasons.


DEFENDANT: WILFREDO MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002
DISTRICT:    District of Massachusetts
                                                             STATEMENT OF REASONS

IV    ADVISORY GUIDELINE SENTENCING DETERMINA nON (Check only one.)

      A 0              The sentence is within an advisory guideline range that is not greater than 24 months, and the court Ilnds no reason to depart.

      B 0              The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                       (Use page 4 if necessary.}



      C 0              The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                       (Also complete Section v.)

      D      iZf       The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (lfapplicable.)

      A      The sentence imposed departs (Check only one.) :
             o below the advisory guideline range
             o above the advisory guideline range
      B       Departure based on (Check all that apply.):

                            Plea Agreement (Check all thaIapply and check reason(s) below.):
                            o    5K 1.1 plea agreement based on the defendant's substantial assistance
                            o    5K3.1 plea agreement based on Early Disposition or "Fast-track" Program
                            o    binding plea agreement for departure accepted by the court
                            o    plea agreement for departure, which the court finds to be reasonable
                            o    plea agreement that states that the government will not oppose a defense departure motion.

             2              Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                            o   5KI.I government motion based on the defendant's substantial assistance
                            D 5K3.! government motion based on Early Disposition or " Fast-trac k" program
                            o   government motion for departure
                            o    defense motion for departure to which the government did not object
                            o   defense motion for departure to which the government objected

             3              Other
                            o   Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):

      C          Reason(s) for Departure (Check all that apply other than 5KJ . J or 5K3.1.)

D    4AI.3        Criminal History Inadequacy              D      5K2.J    Death                                   0     5K2.11 Lesser Harm
0    5HI.I        Age                                      D      5K2.2    Physical Injury                         D     5K2.12 Coercion and Duress
0    5HI .2       Educationand VocationalSkills            D      5K2.3    ExtremePsychological Injury             D     5K2.13 DiminishedCapacity
0    5HU          Mental and Emotional Condition           D      5K2A     Abductionor Unlawful Restraint          D     5K2.14 Public Welfare
0    5HIA         Physical Condition                       D      5K2.5    Property Damageor Loss                  D     5K2.16 VoluntaryDisclosureof Offense
0    5HU          Employment Record                        D      5K2.6    Weapon or DangerousWeapon               D     5K2.17 High-Capacity, Semiautomatic Weapon
0    5HI.6        Family Ties and Responsibilities         D      5K2.7    Disruptionof Govemment Function         D     5K2.18 Violent Street Gang
0    5H1.11       MilitaryRecord, Charitable Service,      D      5K2.8    ExtremeConduct                          D     5K2.20 Aberrant Behavior
                  Good Works                               D      5K2.9    Criminal Purpose                        D     5K2.21 Dismissed and UnchargedConduct
D    5K2.0         Aggravating or Mitigating Circumstances D      5K2.10   Victim's Conduct                        D     5K2.22 Age or Health of Sex Offenders
                                                                                                                   D     5K2.23 DischargedTerms of Imprisonment
                                                                                                                   0     Other guideline basis (e.g, 2B1.1 commentary)

      D          Explain the facts justifying the departure. (Use page 4 if necessary.)
                    Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 9 of 14
AO 2458    (Rev , 09/11) Judgment in a Criminal Case
           Attachment (Page 3) - Statement of Reasons


DEFENDANT: WILFREDO MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002
DISTRICT:    District of Massachusetts
                                                          STATEMENT OF REASONS

VI   COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           ~ below the advisory guideline range
           o above the advisory guideline range

     B     Sentence imposed pursuant to (Check all that apply.) :

                       Plea Agreement (Check all that apply and check reason(s) below.):
                       o       binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                       o       plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                       D       plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                               system

           2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.) :
                       o       government motion for a sentence outside of the advisory guideline system
                       o       defense motion for a sentence outside of the advisory guideline system to which the government did not object
                       D       defense motion for a sentence outside of the advisory guideline system to which the government objected

           3           Other
                       ~ ' Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reasonts) betow.) .
     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

           ~ the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U,S,C, § 3553(a)( I)
           ~ to reflect the seriousness of the offen se, to promote respect for the law, and to provide just punishment for the offense (18 US,c. § 3553(a)(2)(A»
           ~ to afford adequate deterrence to criminal conduct (18 U,S,c. § 3553(a)(2)(8»
           o to protect the public from further crimes of the defendant (18 U.S,C. § 3553(a)(2)(C»
           ~ to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
               (18 U,S,c. § 3553(a)(2)(0»

           ~ to avoid unwarranted sentencing disparities among defendants (18 U,S,C. § 3553(a)(6»
           D to provide restitution to any victims of the offense (18 U.S ,c. § 3553(a)(7»

     D     Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 if necessary.)
                 Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 10 of 14
AO 245B    (Rev. 09111) Judgment in a Criminal Case
           Attachment (Page 4) - Statement of Reasons


DEFENDANT: WILFREDO MELENDEZ
CASE NUMBER: 10-CR-10099-DPW-002
DISTRlCT:    District of Massachusetts
                                                        STATEMENT OF REASONS

VII   COURT DETERMINATIONS OF RESTITUTION

      A    v1    Restitution Not Applicable.

      B    Total Amount of Restitution:

      C    Restitution not ordered (Check only one.):

                 o For offenses for which restitution is otherwise mandatory under 18 V.S.c. § 3663A, restitution is not ordered because the number of
                      identifiable victims is so large as to make restitution impracticable under 18 US.C. § 3663A(c)(3)(A).

           2     o For offenses for which restitution is otherwise mandatory under 18 V.S.c. § 3663A, restitution is not ordered because determining complex
                      issues offact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                      that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 USc. § 3663A(c)(3)(B)

           3     o For other offenses for which restitution is authorized under 18 US.c. § 3663 and/or required by the sentencing guidelines, restitution is not
                      ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh
                      the need to provide restitution to any victims under 18 US.c. § 3663(a)( 1)(B)(ii)

           4     o Restitution is not ordered for other reasons. (Explain.)


      D    0     Partial restitution is ordered for these reasons (18 u.s.c. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (Ifapplicable.)




                   Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.




Defendant's Soc. Sec. No.:           XXX-XX-1769

Defendant's Date of Birth:         1977

Defendant's Residence Address:                                                                     Signature of Judge
 Unknown.                                                                                          Douglas P. Woodlock                 U.S.D.J.
                                                                                                   Name and Title1liu    ~~-------------
Defendant's Mailing Address:
 Unknown.                                                                                                            Q               1$.)lbl ~
                                                                                                   Date Signed -#''-----='----''-=:~----='-----------
   Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 11 of 14




                                 UNITED STATES DISTRlCT COURT
                                  DISTRlCT OF MASSACHUSETIS

UNITED STATES OF AMERICA                         )
                                                 )
                     v.                          )       Criminal No.1 0-1 0099-DPW
                                                 )
2. WILFREDO MELENDEZ,                            )
                Defendant.                       )


                             PRELIMINARY ORDER OF FORFEITURE
WOODLOCK, D.J.

       WHEREAS, November 13,2012, a federal grand jury sitting in the District of

Massachusetts returned a two-count Superseding Indictment charging defendant Wilfredo

Melendez with Conspiracy to Distribute Cocaine, in violation of21 U.S .C. §§ 846 and 841 (a)( I)

(Count One), and Possession of a Firearm in Furtherance of a Drug Trafficking Crime, in violation

of 18 U.S.c. § 924(c) (Count Two);

       WHEREAS, the Superseding Indictment also contained a forfeiture allegation, pursuant to

21 U.S.c. § 853, which provided notice that the United States sought the forfeiture, upon

conviction of the Defendant of the offense alleged in Count One of the Superseding Indictment, of

(I) any and all property constituting or derived from any proceeds the said defendant obtained

directly or indirectly as a result of the charged offenses; and (2) any and all property used or

intended to be used in any manner or part to commit and to faci Iitate the commission of the

offenses. Such property specifically included, without limitation:

               (a)        $91 ,780 in United States currency seized on February 2, 2010 in Quincy,
                          Massachusetts;

               (b)        $24,700 seized on February 10,2010 in North Dartmouth, Massachusetts;
                          and
       Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 12 of 14




               (c)    one 2002 BMW X5, bearing Vehicle Identification Number
                      5UXFA53512LP53967, seized on February 10,2010 in North Dartmouth,
                      Massachusetts

(collectively, the "Properties");

       WHEREAS, the Superseding Indictment further provided that, ifany of the

above-described forfeitable property, as a result of any act or omission by the Defendant, (a)

cannot be located upon the exercise of due diligence; (b) has been transferred or sold to, or

deposited with, a third party; (c) has been placed beyond thejurisdiction of the Court; (d) has been

substantially diminished in value; or (e) has been commingled with other property which cannot be

divided without difficulty, the United States is entitled to seek forfeiture of any other property of

the Defendant, up to the value of such assets, pursuant to 21 U.S.c. § 853(p);

       WHEREAS, on April II, 2013, after a three-day jury trial, a jury found the Defendant

guilty on Count One of the Superseding Indictment;

       WHEREAS, based on the evidence and testimony presented at trial and the Defendant's

conviction, the United States has established the requisite nexus between the Properties and the

offense on which the Defendant was convicted and accordingly, the Properties are subject to

forfeiture to the United States pursuant to 21 U.S.c. § 853; and

       WHEREAS, pursuant to 21 U.S.c. § 853 and Rule 32.2(b)(2)of the Federal Rules of Criminal

Procedure, the United States is now entitled to a Preliminary Order of Forfeitureagainst the Properties.

       ACCORDfNGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

        I.     The Court finds, based upon the Defendant's conviction, that the government has

established the requisite nexus between the Properties and the offense to which the Defendant has

been found guilty.


                                                   2
      Case 1:10-cr-10099-DPW Document 150 Filed 07/15/13 Page 13 of 14




        2.         Accordingly, all of Defendant's interests in the Properties are hereby forfeited to

the United States of America for disposition pursuant to 21 U.S.C. § 853.

        3.         Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the United

States is hereby authorized to seize the Properties and maintain them in its secure custody and control.

        4.         Pursuant to 21 U.S.c. § 853(n)(1), the United States shall publish, for thirty (30)

consecutive calendar days on the government forfeiture website www.forfeiture.gov, notice of the

Preliminary Order of Forfeiture and notice of the United States' intent to dispose of the Properties.

        5.         Pursuant to 21 U.S.c. § 853(n)(I), the United States shall give, to the extent

practicable, direct written notice to any person known to have alleged an interest in the Properties

to be forfeited.

        6.         Pursuant to 21 U.S .c. § 853(n)(2) and (3), the notice referred to above shall state :

(a) that any person, other than the Defendant, asserting a legal interest in the Properties, shall ,

within sixty (60) days after the first day of publication on the government forfeiture website or

within thirty (30) days after receipt of actual notice, whichever is earlier, file a petition with the

United States District Court in Boston, Massachusetts, requesting a hearing to adjudicate the

validity of his or her interest in the Properties; and (b) that the petition shall be signed by the

petitioner under the penalty of perjury and shall set forth the nature and extent of the petitioner's

right, title, or interest in the Properties, the time and circumstances of the petitioner's acquisition of

the right, title, or interest in the Properties, any additional facts supporting the petitioner's claim,

and the rei ief sought.

        7.         Pursuant to 21 U.S.C. § 853(n)(7), following the Court's disposition of all petitions

filed under 21 U.S.c. § 853(n)(6), or ifno such petitions are filed following the expiration of the


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period provided in 21 U.S.C. § 853(n)(2) for the filing of such petitions, the United States of

America shall have clear title to the Properties.

         8.    Upon adjudication of all third party interests, this Court will enter a Final Order of

Forfeiture, pursuant to 21 U.S.c. § 853 and Rule 32.2(c) of the Federal Rules of Criminal

Procedure, in which all interests will be addressed.

         9.    Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture will become final as to the Defendant at the time of his sentencing,

will be part of the Defendant's criminal sentence, and will be included in the criminal judgment

entered by this Court against him.




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                                                        United States District Judge


Dated:    ~~ 2J) {IJ13
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